AFFIDAVIT OF SERVICE THROUGH THE SECRETARY OF STATE

UNITED STATES DISTRICT COURT Purchased/Filed: May 28, 2025
FOR THE EASTERN DISTRICT OF NEW YORK Index# 1:25-cv-02953-OEM-
JRC
Elongino Santiago Lopez and Eduardo Santiago Lopez, individually and on behalf of others similarly
situated Plaintiff.
against
_ El Trio Cerp. (d/b/a El Trio Restaurant) ef ano. Defendant
STATE OF NEW YORK sc -
COUNTY OF ALBANY ”
James Perone , being duly sworn, deposes and says: deponent is over
the age of eighteen (18) years; that on May 30, 2025 ,at 11:00AM , at the office of the

Secretary of State of the State of New York in the City of Albany, New York deponent served the annexed

Summons in a Civil Action and Complaint Collective Action Under 29 U.S.C §216(b)
on

El Trio Corp. , the

Defendant in this action, by delivering to and leaving with _ Tammy Alexander \

AUTHORIZED AGENT in the Office of the Secretary of State, of the State of New York, personally at the Office of
the Secretary of State of the State of New York, 99 Washington Avenue, Albany, NY, 2 true copies thereof and that

at the time of making such service, deponent paid said Secretary of State a fee 40 dollars; That said service was

made pursuant to Section 306 Business Corporation Law. Deponent further says that deponent knew the person
so served as aforesaid to be the agent in the Office of the Secretary of State of the State of New York, duly

authorized to accept such service.onbehalf of said defendant +»)
a “

erson served: Approx. Age.’ ~65 Yrs. Approx. Wt 131-160 Approx. Ht 5° 4" - 6' 8"

Color of skin: / Black

wn
Hair color,” Black Sex: Female Other:

Sworn to before re on this

30th day of May 2

My dW

fn SCOTT SCHUSTER ' WO TH
NOTARY PLIBLIC, STATE OF NEW YORK James Perone
NO. 01SC6308636 \ .
QUALIFIED JN ALBANY COUNTY Attny's File No.

COMMISSION EXPIRES JULY 28, 2026
nvoice-Work Order # S1926147

Servico. Inc. P.O. Box 8717. ALBAny. NY 12201

